Case 1:19-cv-00060-PLM-PJG ECF No. 16, PageID.38 Filed 05/30/19 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                 KALAMAZOO DIVISION

ASHLEY WALDORF and
RYAN WALDORF,

       Plaintiffs,

-vs-                                             CASE NO.: 1:19-CV-00060-PLM-PJG
                                                 Honorable Paul L. Maloney
BANK OF AMERICA, N.A.,

       Defendant.
                                       /


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiffs, Ashley Waldorf and Ryan Waldorf, and the Defendant,

Bank of America, N.A. (“BANA”), and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiffs against

BANA in the above styled action, with Plaintiffs and BANA, to bear their own attorney’s fees,

costs and expenses.

        Respectfully submitted this 30th day of May, 2019.

/s/ Jason R. Derry                               /s/ Stephen J. Staple
Jason R. Derry                                   Stephen J. Staple (P77692)
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Case 1:19-cv-00060-PLM-PJG ECF No. 16, PageID.39 Filed 05/30/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2019, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: Thomas J. Rheaume, Jr., and

Stephen J. Staple, Bodman PLC, 99 Monroe Avenue NW, Suite 506, Grand Rapids, MI 49503

(trheaume@bodmanlaw.com and sstaple@bodmanlaw.com).

                                                 /s/ Jason R. Derry, Esquire
                                                 Jason R. Derry, Esquire
                                                 Attorney for Plaintiff




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